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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            ) CRIMINAL ACTION
v.                                          )
                                            ) No. 10-20076-03-KHV
                                            )
ROSALIA M. PRICEBROOKS,                     )
                                            )
                         Defendant.         )
____________________________________________)

                               MEMORANDUM AND ORDER

       On June 2, 2010, a grand jury indicted defendant and others on charges of conspiracy to

distribute crack cocaine, distributing crack cocaine and maintaining a drug-involved premises. See

Indictment (Doc. #1).

       This matter is before the Court on the Motion Of Defendant Rosalia Pricebrooks For Bond

(Doc. #134) filed November 1, 2010. On November 24, 2010, the Court held a hearing on the

motion. For reasons stated below, the Court finds that defendant should be detained pending trial.

                                    Procedural Background

       On June 24, 2010, federal law enforcement officers arrested defendant in Utah. United

States Magistrate Judge Paul M. Warner held a detention hearing and ordered defendant detained

pending trial. See Doc. #6 in Case No. 10-mj-00167-BCW, United States District Court For The

District Of Utah. The United States Marshal’s Service then transported defendant to the District of

Kansas.

                                       Standard of Review

       A defendant may seek review of a magistrate judge’s order of detention. See 18 U.S.C.

§ 3145(a)(1). The district court reviews de novo a magistrate judge’s order of detention. See United
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States v. Lutz, 207 F. Supp.2d 1247, 1251 (D. Kan. 2002); United States v. Burks, 141 F. Supp.2d

1283, 1285 (D. Kan. 2001). The district court must make its own de novo determination of the facts

and legal conclusion with no deference to the magistrate judge’s findings. See Lutz, 207 F. Supp.2d

at 1251. A de novo evidentiary hearing, however, is not required. See id. The district court may

either “start from scratch” and take relevant evidence or incorporate the record of the proceedings

conducted by the magistrate judge including the exhibits admitted. United States v. Torres,

929 F.2d 291, 292 (7th Cir. 1991). The Federal Rules of Evidence do not apply to detention

hearings. See 18 U.S.C. § 3142(f). The Court may allow the parties to present information by

proffer or it may insist on direct testimony. See id. The Court also may incorporate the record of

the proceedings conducted by the magistrate judge including the exhibits admitted there. Lutz, 207

F. Supp.2d at 1251; see United States v. Chagra, 850 F. Supp. 354, 357 (W.D. Pa. 1994).

                                     Standards For Detention

       Under the Bail Reform Act of 1984, the Court must order an accused’s pretrial release, with

or without conditions, unless it “finds that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(e). In making this determination, the Court must take into account

the available information concerning –

       (1) The nature and circumstances of the offense charged, including whether the
       offense is a crime of violence . . . or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including –
       (A) the person’s character, physical and mental condition, family ties, employment,
       financial resources, length of residence in the community, community ties, past
       conduct, history relating to drug or alcohol abuse, criminal history, and record


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       concerning appearance at court proceedings; and
       (B) whether, at the time of the current offense or arrest, the person was on probation,
       on parole, or on other release pending trial, sentencing, appeal, or completion of
       sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release.

18 U.S.C. § 3142(g).

       The Bail Reform Act of 1984, 18 U.S.C. § 3141 et seq., provides a rebuttable presumption

of risk of flight or danger to the community when a defendant is charged with either an offense for

which the maximum sentence is life imprisonment or an offense for which a maximum term of

imprisonment of ten years or more is prescribed by the Controlled Substances Act, 21 U.S.C. § 801

et seq. See 18 U.S.C. § 3142(e); see also United States v. Stricklin, 932 F.2d 1353, 1354 (10th

Cir. 1991) (“upon a finding of probable cause that defendant has committed a federal drug offense

carrying a maximum prison term of ten years or more, a rebuttable presumption arises that no

conditions of release will assure defendant’s appearance and the safety of the community”). The

burden of production on the defendant to overcome the presumption is not a heavy one, but the

defendant must produce some evidence. Stricklin, 932 F.2d at 1354-55. Even if defendant

overcomes the presumption, the presumption remains a factor in the Court’s detention decision. See

United States v. Johnson, 123 Fed. Appx. 377, 379 (10th Cir. 2005). Ultimately, the burden of

persuasion is always on the government. Id.

       “A grand jury indictment provides the probable cause required by the statute to trigger the

presumption.” United States v. Quartermaine, 913 F.2d 910, 916 (11th Cir. 1990). Here, the grand

jury indictment charges defendant with offenses which carry a maximum term of imprisonment of

ten years or more as prescribed by the Controlled Substances Act, and thus raises the rebuttable



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presumptions of risk of flight and danger to the community. See United States v. Martinez, No. 99-

40095-01-SAC, 1999 WL 1268376, at *3 (D. Kan. Nov. 3, 1999).

       Once the presumption arises, the burden of production shifts to defendant. Stricklin,

932 F.2d at 1354. Defendant’s burden of production is not heavy, but defendant must produce some

evidence. Id.; United States v. Dominguez, 783 F.2d 702, 707 (7th Cir. 1986) (to rebut presumption,

defendant must come forward with credible evidence of something specific about charged criminal

conduct or individual circumstances that tends to show that what is true in general is not true in the

particular case). Even if defendant meets the burden of production, the presumption remains a factor

in determining whether to release or detain. Id. “Thus the mere production of evidence does not

completely rebut the presumption, and in making its ultimate determination, the court may still

consider the finding by Congress that drug offenders pose a special risk of flight and dangerousness

to society.” United States v. Holmes, No. 05-40066-01-SAC, 2007 WL 293907, at *2 (D. Kan. Jan.

29, 2007) (quoting United States v. Hare, 873 F.2d 796, 798-99 (5th Cir. 1989) (footnote omitted)).

The burden of proof remains with the government to show that no condition or combination of

conditions would reasonably assure the accused’s presence in later proceedings and/or the safety of

other persons and the community. Lutz, 207 F. Supp. 2d at 1251 (burden of persuasion regarding

risk of flight and danger to community always remains with government). The government must

prove dangerousness to any other person or the community by clear and convincing evidence. Id.

at 1252.




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                                             Analysis

I.        Nature And Circumstances Of The Offense

          As noted, the counts against defendant trigger the rebuttable presumption for detention.

Accordingly, this factor favors detention.

II.       Weight Of The Evidence

          At the detention hearing, the government proffered evidence that defendant committed the

crimes charged in the indictment. Defendant has offered no evidence to dispute the charges. The

weight of evidence favors detention.

III.      History And Characteristics Of Defendant

          Defendant is 33 years old. She was born in American Samoa on March 17, 1977. At the age

of nine, defendant moved to Hawaii with her mother. In 2004, defendant married and moved to

Kansas with her husband. She moved back to Hawaii for a time, but then moved back to Kansas to

live with her sister in Leavenworth. In 2008, defendant and her husband divorced.

          Defendant has been unemployed for the past six months. Before that, she worked for four

years in nursing in Leavenworth, Kansas. Defendant reports that she is in good physical and mental

health.

          Defendant has a very limited criminal history. In March of 2010, Leavenworth, Kansas

police arrested her for disorderly conduct and obstructing legal process or official duty, both

misdemeanors. On April 14, 2010, the Leavenworth Municipal Court issued a warrant for

defendant’s arrest for failure to appear on those charges.




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       Defendant’s past behavior suggests that she would be a risk of flight if the Court were to

release her on bond. See Johnson, 123 Fed. Appx. at 379 (affirming detention decision where

defendant was flight risk because he failed to appear four times in three other court proceedings).

In these circumstances, the Court finds that despite her family ties to Leavenworth, Kansas,

defendant presents a significant risk of flight.

IV.    Danger To The Community

       Before releasing defendant on any set of conditions, the Court must be satisfied that she will

not pose a danger to any other person or to the community. See 18 U.S.C. § 3142(b). Based on the

government’s proffer, defendant was involved in drug distribution, and the risk that defendant will

commit additional crimes involving drug distribution is sufficient to detain her. See United States

v. Pina-Aboite, 97 Fed. Appx. 832, 836 (10th Cir. 2004) (risk that defendant will continue to engage

in drug trafficking constitutes danger to community). Based on her prior conduct, the Court cannot

predict that defendant would abandon her criminal activities.

V.     Conclusion

       Based upon the evidence proffered at the hearing, the Court concludes that no set of

conditions of release will ensure that defendant will appear on the charges.1 The government has

carried its burden of proving that pretrial detention of defendant is warranted because she is a risk

of flight and a danger to the community.

       1
                Defendant proposed that she be released on conditions including that she live with
her sister in Leavenworth, procure work and have no contact with co-defendants. The Court has no
confidence that defendant’s proposed plan would meet the important concerns of the danger the
defendant poses to the community and others and particularly the risk of her not appearing as
required.

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       IT IS THEREFORE ORDERED that the Motion Of Defendant Rosalia Pricebrooks For

Bond (Doc. #134) filed November 1, 2010 be and hereby is OVERRULED. Defendant shall

remain detained pending trial.

       Dated this 30th day of November 2010 at Kansas City, Kansas.

                                                  s/ Kathryn H. Vratil
                                                  KATHRYN H. VRATIL
                                                  United States District Judge




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